~ Case 2:05-cr-01217-CAS Document 31 Filed 04/24/06 Page1lofs Page ID#:5
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UNITED STATES DISTRICT COURT Closed

CENTRAL DISTRICT OF CALIFORNIA Toons
JS-7/JS-3

CRIMINAL MINUTES Scan Only
CaseNo. CR 05-1217 ER Dated: April 24, 2006

 

PRESENT: HONORABLE EDWARD RAFEEDIE, SENIOR UNITED STATES DISTRICT JUDGE

Pamela Silence Freda Mendelsohn Andrew G. Brown
Courtroom Deputy Court Reporter Asst. U.S. Attorney

Spanish Language Interpreter: Rosey Franklin

 

U. S.A. vs (Dits | isted below) Attorneys for Defendants
FEDERICO SAUSILLO-GONZALES aka _ Darlene M. Ricker

VICTOR HERNANDEZ-GARCIA
present in custody present appointed

PROCEEDINGS: SENTENCING

Case called. Counsel make their appearances. Defendant appears and states his true name
is Federico Saucillo. Court orders that judgment should reflect defendant's true name.

Defendantis sentenced. Refer to Judgment and Probation/Commitment Order attached hereto.

 

Initials of Preparer WY

 

 

Criminal Minutes - Sentencing Page | of 1
 

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a : f United States District Court
: Central District of California
UNITED STATES OF AMERICA vs. Docket No. CR 05-1217 ER oi
Defendant FEDERICO SAUCILLO Social SecurityNo. 3. 9 6 9 a
SAUCILLO, Federico (true) None (true) my
ORTIZ, Victor Chavez (Last 4 digits)

CHAVEZ, Victor Ortiz
GONZALEZ, Rene Saucillo

GARCIA, Victor

HERNANDEZ, Victor /,
OTIZ, Victor Priority 4
HERNANDEZ, Oscar Send

RESA, Roberto Roa Enter /
GUTIERREZ, Ricardo Gonzalez Closed

GOMEZ, Ivon JS-5/ JR —_—
GOMEN, Ivan I~. Sf
GUZMAN, Brailan JS-74 i.
GOMEZ, Ivon Ramos Scan Only___.

MONIKER: Rene
HERNANDEZ-GARCI, Victor
akas: _HERDEZGARCI, Victor

JUDGMENT AND PROBATION/COMMITMENT ORDER

 

 

MONTH DAY YEAR

 

 

 

In the presence of the attorney for the government, the defendant appeared in person on this date. 4 24 2006
COUNSEL | |v] WITH COUNSEL Darlene M. Ricker, CJA Panel Attomey

 

(Name of Counse!}

PLEA | V] GUILTY, and the court being satisfied that there is a factual basis for the plea. [| NOLO [| NOT

CONTENDERE GUILTY

FINDING | There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

JUDGMENT

AND PROB/
COMM

ORDER

 

Illegal Alien Found in the United States Following Deportation in violation of
8 U.S.C. § 1326 as charged in Count Two of the Two-Count Indictment

The Court asked whether defendant had anything to say why judgment should not be pronounced. Because no sufficient cause
to the contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and
ordered that:

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby
committed to the custody of the Bureau of Prisons to be imprisoned for a term of eighteen (18) months on Count
Two of the Two-Count Indictment.

The Court also orders defendant to pay to the United States a special assessment in the amount of $100.00, which
is due immediately to the clerk of the Court. a

 

CR-104 (11/04)

JUDGMENT & PROBATION/COMMITMENT ORDER
Page 1 of 6
 

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USA vs . FEDERICO SAUCILLO Docket No: CR 05-1217 ER

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Upon release from imprisonment, defendant shall be placed on supervised release for a term of one () year on

Count Two of the Two-Count Indictment, under the following conditions: “

[a] The defendant shali comply with the rules and regulations of the U. S. Probation Office and General Order
318,

[b} The defendant shall refrain from any unlawful use of alcohol or a controlled substance. The defendant
shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

[c] The defendant shall comply with the immigration rules and regulations of the United States, and if
deported from this country, either voluntarily or involuntarily, not reenter the United States illegally. The
defendant is not required to report to the Probation Office while residing outside of the United States;
however, within 72 hours of release from any custody or any reentry to the United States during the period
of Court-ordered supervision, the defendant shall report for instructions to the United States Probation
Office, located at:

United States Court House
312 North Spring Street, Room 600
Los Angeles, California 90012
[d] | The defendant shall cooperate in the collection of a DNA sample.

fe] Pursuant to §5E1.2(e) of the Guidelines, all fines are waived as the Court finds that the defendant does
not have the ability to pay a fine.

 

CR-104 (11/04) JUDGMENT & PROBATION/COMMITMENT ORDER
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#USAvs. FEDERICO SAUCILLO Docket No: CR 05-1217 ER

 

[f] The defendant shall comply with General Order 01-05. :

The Court orders Count One, the remaining count of the Indictment, dismissed.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard
Conditions of Probation and Supervised Release within this judgment be imposed. The Court may change
the conditions of supervision, reduce or extend the period of supervision, and at any time during the
supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision pertod.

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Date U. S. District Judge EDWARD EEDIE

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.
My y 2006

Filed Date

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CR-104 (11/04) JUDGMENT & PROBATION/COMMITMENT ORDER
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¢ USA vs. FEDERICO SAUCILLO DocketNo.: CR 05-1217 ER

 

 

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).
STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

While the defendant is on probation or supervised release pursuant to this judgment:

The defendant shall not commit another Federal, state or local crime; 10. the defendant shall not associate with any persons engaged in

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the defendant shall not leave the judicial district without the written
permission of the court or probation officer;

the defendant shall report to the probation officer as directed by the
court or probation officer and shall submit a truthful and complete
written report within the first five days of each month;

the defendant shall answer truthfully all inquiries by the probation
officer and follow the instructions of the probation officer;

the defendant shall support his or her dependents and meet other
family responsibilities,

the defendant shal! work regularly at a lawful occupation unless
excused by the probation officer for schooling, training, or other
acceptable reasons,

the defendant shall notify the probation officer at least 10 days prior
to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol and shall not
purchase, possess, use, distribute, or administer any narcotic or other
controlled substance, or any paraphernalia related to such substances,
except as prescribed by a physician;

the defendant shal! not frequent places where controlled substances
are illegally sold, used, distributed or administered;

criminal activity, and shall not associate with any person convicted
of a felony unless granted permission to do so by the probation
officer:

the defendant shall permit a probation officer to visit him or her at
any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view by the probation officer;

the defendant shall notify the probation officer within 72 hours of
being arrested or questioned by a law enforcement officer;

the defendant shall not enter into any agreement to act as an informer
or a special agent of a law enforcement agency without the
permission of the court;

as directed by the probation officer, the defendant shall notify third
parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics, and shall permit the
probation officer to make such notifications and to conform the
defendant’s compliance with such notification requirement;

the defendant shall, upon release from any period of custody, report
to the probation officer within 72 hours:

and, for felony cases only: not possess a firearm, destructive device,
or any other dangerous weapon.

 

The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).
STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

The defendant sha!l pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15") day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution , however, are
not applicable for offenses completed prior to April 24, 1996.

If al] or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
balance as directed by the United States Attomey’s Office. 18 U.S.C. §3613.

The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

The defendant shali notify the Court through the Probation Office, and notify the United States Attorney of any material change in
the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18
U.S.C. §3563(a)(7).

Payments shall be applied in the following order:

1, Special assessments pursuant to 18 U.S.C. §3013,
2. Restitution, in this sequence:
Private victims (individual and corporate),
Providers of compensation to private victims,
The United States as victim;
3. Fine;
4, Community restitution, pursuant to 18 U.S.C. §3663(c); and
5, Other penalties and costs.

 

CR-104 (11/04) JUDGMENT & PROBATION/COMMITMENT ORDER

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SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE S
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As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open

any line of credit without prior approval of the Probation Officer.

The defendant shall maintain one personal checking account. All of defendant’s income, ‘monetary gains,” or other pecuniary
proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, shall be disclosed to the Probation Officer upon request.

The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

These conditions are in addition to any other conditions imposed by this judgment.

 

RETURN

I have executed the within Judgment and Commitment as follows:
Defendant delivered on to

 

 

Defendant noted on appeal on

 

Defendant released on

 

Mandate issued on

 

Defendant’s appeal determined on

 

Defendant delivered on to

 

at

 

the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

 

 

United States Marshal
By
Date Deputy Marshal
CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in
my legal custody.

Clerk, U.S. District Court

By

 

CR-104 (11/04) JUDGMENT & PROBATION/COMMITMENT ORDER
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Filed Date Deputy Clerk oa

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FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them,

 

 

 

 

 

(Signed)
Defendant Date
U. S, Probation Officer/Designated Witness Date
CR-104 (11/04) JUDGMENT & PROBATION/COMMITMENT ORDER

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Ton PARTY: SERVICE

Case No. CR (S- [214 ER Case Title USA Vv.

Title of Document Judgment and Probation/Commitment Order

 

 

Atty Stthnnt Officer

——

 

BAP (Bankruptcy Appellate Panel)

 

Beck, Michael J (Clerk, MDL Panel)

 

BOP (Bureau of Prisons)

 

CA St Pub Defender (Calif. State PD)

 

CAAG (Califomia Attorney General’s Office -
Keith H. Borjon, L.A. Death Penalty Coordinator)

 

Case Asgmt Admin (Case Assignment
Administrator)

 

Catterson, Cathy (9" Circuit Court of Appeal)

 

Chief Deputy Admin

 

Chief Deputy Ops

 

Clerk of Court

 

Death Penalty H/C (Law Clerks)

 

Dep In Chg E Div

 

Dep In Chg So Div

 

Fiscal Section

 

Intake Section, Criminal LA

 

Intake Section, Criminal SA

 

Intake Supervisor, Civil

 

Interpreter Section

 

PIA Clerk - Los Angeles (PIALA)

 

PIA Clerk - Riverside (PIAED)

 

PIA Clerk - Santa Ana (PIASA)

 

PSA - Los Angeles (PSALA)

 

PSA - Riverside (PSAED)

 

PSA - Santa Ana (PSASA)

 

Schnack, Randall (CJA Supervising Attorney)

 

 

Statistics Clerk

 

 

 

Fednico Suc il ILE

 

Stratton, Maria - Federal Public Defender “

 

US Attorneys Office - Civil Division -L.A.

 

US Attomeys Office - Civil Division - $.A.

 

US Attomeys Office - Criminal Division -L.A.

 

US Attomeys Office - Criminal Division -S.A.

 

US Bankruptcy Court

 

US Marshal Service - Los Angeles (USMLA)

 

US Marshal Service - Riverside (USMED)

 

US Marshal Service -Santa Ana (USMSA)

 

US Probation Office (USPO)

 

US Trustee’s Office

 

 

Warden, San Quentin State Prison, CA

 

 

ADD NEW NOTICE PARTY

(if sending by fax, mailing address must also be

 

provided)

 

Name:

 

Firm:

 

Address (inelude state or floor):

 

 

 

*E-mail:

 

 

*Fax No.:

 

* For CIVIL cases
JUDGE / MAGISTRATE JUDGE

 

Initials of DeputyCle

 

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NOTICE PARTY SERVICE LIST

 
